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                    IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                  )           CASE NO. 8:02CR353
                                           )
                   Plaintiff,              )
                                           )
      vs.                                  )           AMENDED JUDGMENT
                                           )
ROY C. STRAUGHAN,                          )
                                           )
                   Defendant.              )

      In accordance with the accompanying Amended Memorandum and Order,

      IT IS ORDERED:

      1.    The Defendant’s motion to reconsider (Filing No. 652) is denied;

      2.    The Defendant’s Motion Under 28 U.S.C. § 2255 to Vacate, Set Aside, or

            Correct Sentence by a Person in Federal Custody (“§ 2255 motion”) (Filing

            No. 619) is denied;

      3.    Specifically, Claim 18 in the § 2255 motion is summarily denied; and

      4.    The Clerk is directed to mail a copy of this Amended Judgment to the

            Defendant at his last known address.

      DATED this 4th day of March, 2009.

                                               BY THE COURT:


                                               s/Laurie Smith Camp
                                               United States District Judge
